          Case 4:19-cv-00167-JM Document 16 Filed 06/30/20 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

WILLIE NAPOLEON MOTHERSHED                                                    PLAINTIFF

V.                                 4:19CV00167 JM

TOMMY LAND, Commissioner
of State of Lands of Arkansas                                            DEFENDANT

                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice.

       IT IS SO ADJUDGED this 30th day of June, 2020.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
